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 7                         IN THE UNITED STATES DISTRICT COURT
 8                              FOR THE DISTRICT OF ARIZONA
 9
     Ronald H. Pratte,                               Case No. 2:19-cv-00239-PHX-GMS
10
                            Plaintiff,
11                                                   ORDER
     vs.
12
13   Jeffrey Bardwell and Fanny F. Bardwell,
14   husband and wife,

15
                            Defendants.
16
17             Before the Court is an Application for Substitution of Counsel, requesting that
18   attorneys Gregory B. Collins and Zachary R. Fort of Kercsmar & Feltus PLLC be
19   substituted in place of Brian M. Flaherty of Sacks Tierney P.A. as counsel of record for
20   Plaintiff. Having considered this request,
21
               IT IS ORDERED that the Application for Substitution of Counsel is granted.
22
23             IT IS FURTHER ORDERED that Gregory B. Collins and Zachary R. Fort of
24   Kercsmar & Feltus PLLC are substituted as counsel of record for Plaintiff Ronald H.
25   Pratte.
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